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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF INDIANA
                                HAMMOND DIVISION


 LATANYA M. EVANS,
                                                         CIVIL ACTION
       Plaintiff,

 v.                                                      COMPLAINT 2:21-cv-00172

 MIRAMED REVENUE GROUP, LLC,
                                                         JURY TRIAL DEMANDED
       Defendant.

                                           COMPLAINT

          NOW COMES Latanya M. Evans (“Plaintiff”), by and through her undersigned attorneys,

complaining as to the conduct of MiraMed Revenue Group (“Defendant”) as follows:

                                      NATURE OF THE ACTION

      1. Plaintiff brings this action seeking redress for violations of the Fair Debt Collection

Practices Act (“FDCPA”) pursuant to 15 U.S.C. §1692, and violations of the Telephone Consumer

Protection Act (“TCPA”) pursuant to 47 U.S.C. §227.

                                     JURISDICTION AND VENUE

      2. Subject matter jurisdiction is conferred upon this Court by the FDCPA, TCPA, and 28

U.S.C. §§1331 and 1337, as the action arises under the laws of the United States.

      3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business

in the Northern District of Indiana, and a substantial portion of the events or omissions giving rise

to the claims occurred within the Northern District of Indiana.

                                               PARTIES

      4. Plaintiff is a consumer and natural person over 18-years-of-age who, at all times relevant,

resided in the Northern District of Indiana.


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    5. Defendant is a debt collection liability company organized under the laws of the state of

Illinois with its principal place of business located at 360 E. 22nd Street Lombard, Illinois 60148.

Defendant collects upon consumer debt throughout the United States, including those residing in

Indiana.

    6. Defendant is a “person” as defined by 47 U.S.C. §153(39).

    7. Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, representatives and insurers at all times relevant

to the instant action.

                              FACTS SUPPORTING CAUSE OF ACTION

    8. Prior to the events giving rise to this cause of action, Plaintiff incurred a medical debt from

Franciscan Physician Network for approximately $2,000.00 (“subject debt”).

    9. Thereafter, Plaintiff fell behind on payments and defaulted on the subject debt.

    10. Subsequently, Defendant acquired the right to collect on the subject debt.

    11. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner and

operator of the cellular phone ending in 5822.

    12. In or around August 2020, Defendant began placing phone calls to Plaintiff’s cellular

phone in an attempt to collect on the subject debt.

    13. Plaintiff received a voicemail from Defendant in which she returned the call and asked

Defendant to stop calling her number.

    14. On January 27, 2021, Plaintiff began receiving text messages from (855) 200-8669 alerting

her that the message was from Defendant working on behalf of Franciscan Physician Network and

to visit their website or call (833) 581-0093.




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   15. Plaintiff replied to the January 27, 2021, text message with “stop,” in an attempt to revoke

consent from Defendant’s effort to collect on subject debt through text message.

   16. Defendant responded with “You replied with the word ‘stop’ which blocks all texts sent

from this number.”

   17. On February 23, 2021, Plaintiff received another text message from Defendant, this time

from (855) 200-8667, stating that the message was the Defendant working on behalf of Franciscan

Physician Network and to visit their website or call (833) 581-0093.

   18. Notwithstanding Plaintiff’s request, Defendant continued placing text messages to her

cellular phone and contacted her on March 13, 2021, from (855) 200-8667 conveying the same

message as the prior text messages.

   19. On March 23, 2021, Plaintiff received another message from (855) 200-8668 stating the

message was from Defendant who is working on behalf on Franciscan Physician Network and to

visit their website or call (833) 581-0093.

   20. Subsequently, Plaintiff continued to receive the same text message from Defendant on

April 1 and April 28, 2021.

   21. On May 12, 2021, Plaintiff received another text message from Defendant expressing the

same message as prior text messages through a SMS code of “64669.”

   22. Plaintiff has been unfairly and unnecessarily harassed through Defendant’s repeated

actions.

                                              DAMAGES

   23. Defendant’s harassing text messages have severely disrupted Plaintiff’s daily life and

general well-being.




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   24. Defendant’s phone harassment campaign and illegal collection activities have caused

Plaintiff actual harm, including but not limited to, invasion of privacy, nuisance, intrusion upon

and occupation of Plaintiff’s cellular telephone capacity, wasting Plaintiff’s time, increased risk of

personal injury resulting from the distraction caused by text messages, aggravation that

accompanies unsolicited debt collection calls, harassment, emotional distress, anxiety, loss of

concentration, diminished value and utility of her telephone equipment and telephone subscription

services.

   25. Concerned about the violations of her rights and invasion of her privacy, Plaintiff sought

the assistance of counsel to permanently cease Defendant’s collection efforts.

             COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

   26. Plaintiff restates and realleges paragraphs 1 through 25 as though fully set forth herein.

   27. Plaintiff is a “consumer” as defined by FDCPA §1692a(3).

   28. The subject debt is a “debt” as defined by FDCPA §1692a(5) as it arises out of a transaction

due or asserted to be owed or due to another for personal, family, or household purposes.

   29. Defendant is a “debt collector” as defined by §1692a(6) because it’s a business, the

principal purpose of which, is the collection of debts and uses the mail and/or the telephones to

collect a delinquent medical debt allegedly owed to a third party.

   30. Moreover, Defendant is a “debt collector” because it acquired rights to the subject debt

after it was in default. 15 U.S.C. §1692a(6).

   31. Defendant used the phone to attempt to collect the subject debt and, as such, engaged in

“communications” as defined in FDCPA §1692a(2).

   32. Defendant’s communications to Plaintiff were made in connection with the collection of

the subject debt.



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   33. Defendant violated 15 U.S.C. §§1692c(a)(1), d, d(5), and f through its unlawful debt

collection practices.

       a. Violations of FDCPA § 1692c

   34. Defendant violated §1692c(a)(1) when it continuously contacted Plaintiff after being

notified to stop. This repeated behavior of systematically texting Plaintiff’s cellular phone over

and over after she demanded that it cease contacting her was harassing and abusive. Even after

being told to stop contacting her, Defendant continued its onslaught of text messages with the

specific goal of oppressing and abusing Plaintiff into paying the subject debt immediately.

   35. Furthermore, Defendant has relentlessly texted Plaintiff on numerous occasions. The

frequency and volume of the text messages show that the Defendant willfully ignored Plaintiff’s

pleas with the intent to annoy, abuse and harass her.

   36. Defendant was notified by Plaintiff that its text messages were not welcomed. As such,

Defendant knew that its conduct was inconvenient and harassing to her.

       b. Violations of FDCPA §§ 1692d and 1692d(5)

   37. Defendant violated §1692d by engaging in abusive, harassing, and oppressive conduct by

relentlessly texting Plaintiff’s cellular phone seeking immediate payment on the subject debt.

Moreover, Defendant continued placing the relentless text messages after Plaintiff replied to

Defendant with “stop,” in an attempt to cease the harassing messages.

   38. Defendant violated § 1692d(5) by causing Plaintiff’s cellular phone to ring repeatedly and

continuously in an attempt to engage Plaintiff in conversations regarding the collection of the

subject debt with the intent to annoy, abuse, or harass Plaintiff. Defendant continued placing the

relentless text messages after Plaintiff replied to Defendant with “stop,” in an attempt to cease the

harassing messages.



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   39. As pled above, Plaintiff was severely harmed by Defendant’s conduct.

   40. As an experienced debt collector, Defendant knew or should have known the ramifications

of placing debt collection text messages to Plaintiff after it was informed to cease placing such

messages.

   41. Upon information and belief, Defendant systematically places unsolicited and harassing

debt collection text messages to consumers in Indiana in order to aggressively collect debts in

default to increase its profitability at the consumers’ expense.

       c. Violations of FDCPA § 1692f

   42. The FDCPA, pursuant to 15 U.S.C. §1692f, prohibits a debt collector from using “unfair

or unconscionable means to collect or attempt to collect any debt.”

   43. Defendant violated §1692f when it unfairly and unconscionably attempted to collect on a

debt by repeatedly texting Plaintiff after being notified to stop. Attempting to coerce Plaintiff into

payment by placing voluminous phone calls without her permission is unfair and unconscionable

behavior. These means employed by Defendant only served to worry and harass Plaintiff.

WHEREFORE, Plaintiff Latanya M. Evans respectfully requests that this Honorable Court:

   a. Declare that the practices complained of herein are unlawful and violate the
       aforementioned statute;
   b. Award Plaintiff statutory and actual damages, in an amount to be determined at trial, for
       the underlying FDCPA violations;
   c. Award Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
       §1692k; and
   d. Award any other relief as the Honorable Court deems just and proper.




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            COUNT II – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

   44. Plaintiff restates and realleges paragraphs 1 through 43 as though fully set forth herein.

   45. Defendant repeatedly placed or caused to be placed frequent non-emergency text messages,

including but not limited to the text messages referenced above, to Plaintiff’s cellular telephone

number using an automatic telephone dialing system (“ATDS”) or prerecorded messages without

Plaintiff’s prior consent in violation of 47 U.S.C. §227 (b)(1)(A)(iii).

   46. The TCPA defines ATDS as “equipment which has the capacity...to store or produce

telephone numbers to be called, using a random or sequential number generator; and to dial such

numbers.” 47 U.S.C. §227(a)(1).

   47. Defendant violated the TCPA by placing numerous text messages to Plaintiff’s cellular

phone between January 2021 and the present day, using an ATDS without her prior consent.

   48. Any prior consent, if any, was revoked by Plaintiff’s responsive revocations. Specifically,

Plaintiff replied to Defendant’s text message with “stop,” revoking consent to be contacted on her

cellular phone.

   49. Defendant used equipment with the ability to store or produce cellular telephone number

to be used at random or sequential number generator and to dial such numbers without human

intervention, as evidenced by the high number of text messages, the generic and impersonal nature

of the message, and the Defendant’s use of SMS code.

   50. As pled above, Plaintiff was severely harmed by Defendant’s collection messages to her

cellular phone by experiencing annoyance, harassment and aggravation.

   51. Upon information and belief, Defendant knew its collection practices were in violation of

the TCPA, yet continued to employ them to increase profits at Plaintiff’s expense.




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   52. Defendant, through its agents, representatives, subsidiaries, and/or employees acting

within the scope of their authority acted intentionally in violation of 47 U.S.C. §227(b)(1)(A)(iii).

   53. Pursuant to 47 U.S.C. §227(b)(3)(B), Defendant is liable to Plaintiff for a minimum of

$500 per violation. Moreover, pursuant to 47 U.S.C. §227(b)(3)(C), Defendant’s willful and

knowing violations of the TCPA triggers this Honorable Court’s discretion to triple the damages

to which Plaintiff is otherwise entitled to under 47 U.S.C. §227(b)(3)(C).

WHEREFORE, Plaintiff Latanya M. Evans respectfully requests this Honorable Court for the
following relief:
   a. Declare Defendant’s text messages to Plaintiff to be a violations of the TCPA;
   b. Award Plaintiff damages of at least $500 per text message and treble damages pursuant to
       47 U.S.C. § 227(b)(3)(B)&(C); and
   c. Awarding Plaintiff costs and reasonable attorney fees;
   d. Enjoining Defendant from further contacting Plaintiff; and
   e. Awarding any other relief as this Honorable Court deems just and appropriate.


Plaintiff demands trial by jury.


Dated: May 21, 2021                                   Respectfully Submitted,

/s/ Marwan R. Daher                                   /s/ Omar T. Sulaiman
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